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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


BARBARA J. LEE et al.,
                    Plaintiffs,
             v.                         Case No. 21-cv-00400 (APM)
DONALD J. TRUMP et al.,                 (lead case)
                    Defendants.

ERIC SWALWELL,
                    Plaintiff,
             v.                         Case No. 21-cv-00586 (APM)
DONALD J. TRUMP et al.,                 (consolidated case)
                    Defendants.

JAMES BLASSINGAME et. al.,
                    Plaintiffs,
             v.                         Case No. 21-cv-00858 (APM)
DONALD J. TRUMP,                        (consolidated case)
                    Defendant.

CONRAD SMITH et al.,
                    Plaintiffs,
             v.                         Case No. 21-cv-02265 (APM)
DONALD J. TRUMP et al.,                 (consolidated case)
                    Defendants.

MARCUS J. MOORE et al.,
                    Plaintiffs,
             v.                         Case No. 22-cv-00010 (APM)
DONALD J. TRUMP,                        (consolidated case)
                    Defendant.
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  BOBBY TABRON et al.,
                         Plaintiffs,
                                                      Case No. 22-cv-00011 (APM)
                 v.
                                                      (consolidated case)
  DONALD J. TRUMP,
                         Defendant.

  BRIANA KIRKLAND,
                         Plaintiff,
                                                      Case No. 22-cv-00034 (APM)
                 v.
                                                      (consolidated case)
  DONALD J. TRUMP,
                         Defendant.

  SANDRA GARZA,
                         Plaintiff,
                                                      Case No. 23-cv-00038 (APM)
                 v.
                                                      (consolidated case)
  DONALD J. TRUMP et al.,
                         Defendants.


                                       [PROPOSED] ORDER

       Upon consideration of the Parties’ Joint Motion to Extend Third-Party Deposition

Deadlines, and finding good cause, it is hereby:

               ORDERED that the Parties’ Joint Motion is GRANTED.

               Accordingly, the Parties may take immunity-related depositions until December 4,

2024, while the October 28, 2024, discovery deadline remains intact for all other intents and

purposes.

               SO ORDERED.



  Date:
                                                       The Honorable Amit P. Mehta
                                                       United States District Judge
